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ROBBINS GELLER RUDMAN
& DOWD LLP
JOHN J. STOJA, JR. (141757)
BONNY E. SWEENEY (176174)
THOMAS R. MERRICK (177987)
ALEXANDRA S. BERNAY (211068)
PAULA M. ROACH (254142)
655 West Broadway, Suite 1900
San Diego, CA 92101
Telephone: 619/231-1058
619/231-7423 (fax)
johns@rgrdlaw.com
bonnys@regrdlaw.com
tmerrick@rgrdlaw.com
xanb@rgrdlaw.com
proach@rgrdlaw.com

THE KATRIEL LAW FIRM
ROY A. KATRIEL (pro hac vice)
1101 30th Street, N.W., Suite 500
Washington, DC 20007
Telephone: 202/625-4342
202/330-5593 (fax)
rak@katriellaw.com

Co-Lead Counsel for Plaintiffs

[Additional counsel appear on signature page. |

THE APPLE IPOD ITUNES ANTI-TRUST
LITIGATION

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN JOSE DIVISION

Lead Case No. C-05-00037-JW(HRL)
CLASS ACTION

This Document Relates To:

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ALL ACTIONS.

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PLAINTIFFS’ OPPOSITION TO APPLE
INC.’S MOTION FOR PROTECTIVE
ORDER PREVENTING THE DEPOSITION
OF STEVE JOBS

JUDGE: Hon. Howard R. Lloyd
DATE: January 18, 2011
TIME: 10:00 a.m.

CTRM: 2 — Fifth Floor

[REDACTED]

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I. INTRODUCTION
This Court should reject Apple’s attempt to shield CEO Steve Jobs from providing

deposition testimony. Mr. Jobs has first-hand knowledge of matters directly at issue in this

monopolization case that cannot be gleaned from any other source. a
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Apple does not come close to meeting its heavy burden of showing “good cause” for a
protective order under Rule 26(c) of the Federal Rules of Civil Procedure.’ A high-level corporate
officer may be shielded from deposition only where “the officer has no first hand knowledge of the
facts of the case or where the officer’s testimony would be repetitive.’” Google Inc.v. Am. Blind &
Wallpaper Factory, Inc., No. C 03-5340 JF(RS), 2006 U.S. Dist. LEXIS 67284, at *10
n.3 (N.D. Cal. Sept. 6, 2006) (allowing deposition of Google founder where testimony revealed
founder may have been involved in policy change at issue). Broad allegations of harm,
unsubstantiated by specific examples or articulated reasoning, do not satisfy Rule 26(c). Kennedy v.
Jackson Nat'l Life Ins. Co., No. C 07-0371 CW (MEJ), 2010 U.S. Dist. LEXIS 47866, at *3 (N.D.
Cal. Apr. 22, 2010); Beckman Indus., Inc. v. Int’l Ins. Co., 966 F.2d 470, 476 (9th Cir. 1992). “A
court should not prohibit a relevant deposition ‘absent extraordinary circumstances’ because such a
prohibition would ‘likely be in error.’” Lexington Ins. Co. v. Sentry Select Ins. Co., No. 1:08-cv-
1539 LIO GSA, 2009 U.S. Dist. LEXIS 122184, at *8 (E.D. Cal. Dec. 17, 2009) (quoting Salter v.
Upjohn Co., 593 F.2d 649, 651 (Sth Cir. 1979)). Here, Plaintiffs can readily demonstrate that Mr.
Jobs possesses unique knowledge of critical issues and that such testimony will not be repetitive.

Apple has utterly failed to support its motion with specific examples of how a deposition of
Mr. Jobs would constitute undue hardship, or provide any support for its contention that Mr. Jobs

has no unique knowledge of relevant issues. Contrary to established precedent, Apple has also failed

to provide an affidavit from Mr. Jobs showing he has no unique first-hand knowledge of matters

Unless otherwise noted, citations are omitted and emphasis is added.

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relevant to the issues in the case. This failure strongly counsels against granting Apple’s motion.
See Zamora v. D’Arrigo Bros. Co. of Cal., No. C 04-00047 JW (HRL), 2007 WL 806518, at *6
(N.D. Cal. Mar. 15, 2007) (protective order denied where defendant failed to submit an affidavit
swearing that the individual to be deposed did not have the information sought); Lexington, 2009
U.S. Dist. LEXIS 122184 (protective order denied where no affidavit submitted and potential
deponents possessed relevant personal knowledge).

For the reasons set forth below, this Court should deny Apple Inc.’s Motion for a Protective
Order Preventing the Deposition of Steve Jobs (Dkt. No. 396) and permit Plaintiffs to depose Mr.
Jobs.
II. BACKGROUND

Plaintiffs are iPod purchasers who allege that Apple unlawfully maintained its dual
monopolies in the markets for portable digital media players and digital audio downloads by using
pretextual software and firmware updates that were intended to, and had the effect of, excluding
competitors from the markets. Dkt. No. 322 (Amended Consolidated Complaint for Violations of
Sherman Antitrust Act, Clayton Act, Cartwright Act, California Unfair Competition Law,
Consumers Legal Remedies Act, and California Common Law of Monopolization). As a result,
Apple has been able to maintain its monopolies longer than would otherwise have been possible, and
has been able to charge supracompetitive prices for iPods. Jd., 81-84, 88. Plaintiffs allege that
when Apple launched its online digital audio downloads store (now called the iTunes Store) in 2003,
it decided to use a proprietary Digital Rights Management (“DRM”) system called FairPlay ~ rather
than other, widely-used open systems — in order to lock iTunes Store customers into using the iPod.
Id., 4938-52. As a result, until recently, digital audio downloads purchased from other internet sites
(such as Amazon.com or Walmart.com) could not play directly on an iPod. /d., 68-72. Similarly,
songs purchased from the iTunes Store could not play directly on any portable digital media player

other than the iPod. /d.

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Until the major recording labels that license content to Apple decided to abandon DRM in
order to open up the digital audio download market and reduce Apple’s dominance, Apple jealously
guarded its closed-loop system.” Id., 4948-51; see also Ex. 1 (Apple_AIIA00090405). Apple
rejected requests to license FairPlay and vehemently and publicly shut down legitimate and legal
efforts by would-be rivals to make their products interoperable with Apple’s. Dkt. No. 322, 948-51.

On July 26, 2004, RealNetworks, Apple’s competitor in the sale of digital audio downloads,
announced that songs legally sold through its online store could be played directly on the iPod, in
addition to other competing portable digital music media. Jd, 953; see also Ex. 2
(Apple_AIIA00090441-443). RealNetworks used technology, referred to as Harmony, to convert its
Helix DRM into DRM that was compatible with Apple’s iPod. Dkt. No. 322, 453. RealNetworks’
announcement was significant because it represented the first real threat to Apple’s monopoly in the
digital audio download market. At the time of the RealNetworks announcement, Apple controlled
ma of the portable digital media player market. Ex. 3 (Apple_AIIA00099408). Thus, in order to
compete in the digital audio download market, any would-be competitor had to make its music
directly playable on the iPod. That was precisely what RealNetworks accomplished, legally and
with the full endorsement of the recording labels that license content to Apple. Ex. 1
(Apple_AIIA00090405).

RealNetworks immediately began selling its audio downloads for as low as 49 cents per-

track, far cheaper than Apple’s 99 cent per-track price. Dkt. No. 322, 954-55. a

Ds |x. 3 (Apple _AIA00099408).

Apple’s response to Harmony was swift and punishing. In a disparaging public statement

p< enounced its

competitor as hacker-like and warned RealNetwork and its customers (as well as any other would-be

° All references to “Ex.” and Exs.” are to the Declaration of Alexandra S. Bernay in Support of

Plaintiffs’ Opposition to Apple Inc.’s Motion for a Protective Order Preventing the Deposition of
Steve Jobs, (“Bernay Decl.”), filed concurrently herewith.

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competitors) that songs purchased from RealNetworks would likely stop playing on iPods in the
future because Apple intended to update its software and firmware. Dkt. No. 322, 59; see also
Ex. 1 (Apple _AIIA00090405-07); Ex. 4 (Apple_AIIA00093875-76); Ex. 5 (Apple Accuses
RealNetworks of Hacking).

True to its word, beginning with the release of iTunes version 47 in October 2004, Apple’s
updates to the iPod and iTunes software and firmware prevented songs downloaded from
RealNetworks’ music store from being played on iPods. Dkt. No. 322, 460. As aresult, Apple was
able to maintain its dual monopolies in the portable digital media player and digital audio download
markets, and thereby maintain its supracompetitive pricing of the iPod, until at least March 31, 2009.
Id., (962, 67-72.

Apple argues that it broke Harmony’s interoperability with the iPod not because of any
anticompetitive intent, but rather because its contractual obligations with the recording labels
required it to issue firmware and software updates periodically to thwart music piracy. Breaking
Harmony, according to Apple, was merely a side effect of these necessary updates. Dkt. No. 325,
329 (Apple’s Motion to Dismiss or, Alternatively, for Summary Judgment). °

However, discovery to date demonstrates that Apple issued unnecessary and non-improving
iTunes and iPod software and firmware updates for the purpose of excluding RealNetworks and
other potential rivals, and that Apple’s asserted justifications for these updates are pretextual. As the
principal case Apple relies on makes clear, a monopolist that modifies its product in a manner that
excludes competitors is afforded deference under Section 2 of the Sherman Act only if that product
design change provides an added benefit to consumers or is otherwise supported by procompetitive
justifications. Allied Orthopedic Appliances Inc. v. Tyco Health Care Group LP, 592 F.3d 991, 998-
99 (9th Cir. 2010) (“changes in product design are not immune from antitrust scrutiny and in certain

cases may constitute an unlawful means of maintaining a monopoly under Section 2”). a

Dee See Ex. 1 (Apple _AIIA00090405).

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Plaintiffs can prevail on their Section 2 claims against Apple if they can prove — as supported
by discovery to date — that Apple’s asserted procompetitive justifications for the updates that
disabled Harmony are pretextual. See Image Tech. Servs., Inc. v. Eastman Kodak Co., 125 F.3d
1195, 1212 (9th Cir. 1997) (“A plaintiff may rebut an asserted business justification by
demonstrating either that the justification does not legitimately promote competition or that the
justification is pretextual.”). As Judge Ware found in his order denying Apple’s motion for
summary judgment on Plaintiffs’ Section 2 claims, “the temporal proximity between RealNetwork’s
announcement of its iPod-compatible Harmony technology in July 2004 and the release of iTunes
4.7, which ended that compatibility, in October 2004 raises questions about the real purpose of
Defendant’s software redesign that Plaintiffs should at least have an opportunity to explore through
additional discovery.” Dkt. No. 377 at 12-13. Plaintiffs are therefore entitled to probe key
witnesses’ understanding of, and asserted justifications for, issuing the updates that disabled
Harmony. Image Tech., 125 F.3d at 1219 (“Evidence regarding the state of mind of [defendant’s]
employees may show pretext, when such evidence suggests that the proffered business justification
played no part in the decision to act.”).

Tl. ARGUMENT

_———
Apple’s documents and witnesses demonstrate that Mr. Jobs was centrally involved in the
principal issues in this case?

3 While other witnesses may also testify about some of the emails and statements that will be
the subject of Mr. Jobs’ examination, “[t]he mere fact . . . that other witnesses may be able to testify
as to what occurred at a particular time or place does not mean that a high-level corporate officer’s
testimony would be ‘repetitive.’ Indeed, it is not uncommon for different witnesses to an event to
have differing recollections of what occurred.” First Nat’l Mortg. Co. v. Fed. Realty Inv. Trust, No.
C 03-02013 RMW (RS), 2007 U.S. Dist. LEXIS 88625, at *6 (N.D. Cal. Nov. 19, 2007).

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As recent deposition testimony and documents only recently produced by Apple reveal,” i

PE 13x. 6 (Robbin Tr. at 115:14-22); Ex. 7 (Cue Tr. at 19:14-19).

Ex. 8 (Apple AIIA00320482), Ex. 9
(Apple _AIIA00093477).

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Ex. 4 (Apple_AUA00093875).

We are stunned that Real has adopted the tactics and ethics of a hacker to break into
the iPod, and we are investigating the implications of their actions under the DMCA
and other laws. We strongly caution Real and their customers that when we update
our iPod software from time to time it is highly likely that Real’s Harmony
technology will cease to work with current and future iPods.

Ex. 5 (Apple Accuses RealNetworks of Hacking).

EM x. 4 (Apple_A1A00093875)
ees |x. 6 (Robbin Tr. at 115:14-22); Ex.
7 (Cue Tr. at 19:14-22, 20:4-21:1, 37:21-39:22, 49:13-51:15). ee
EEE Mc. Jobs’ knowledge and state of mind
ee information that can be gained from no other source — is therefore

critical. See Image Tech., 125 F.3d at 1219 (“Evidence regarding the state of mind of [defendant’s]

employees may show pretext, when such evidence suggests that the proffered business justification

played no part in the decision to act.”). See also Ex. 3 (Apple_AIIA00099408) a

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B. Depositions of High-Level Executives Are Routinely Granted Where
the Executives Have Unique, Personal Knowledge

Apple claims depositions of a corporation’s top executive are rarely allowed. This is not
true. While cognizant of the potential for “abuse or harassment” of top executives, the
overwhelming weight of authority holds that where, as here, an executive has personal knowledge
regarding the litigation not readily obtainable from other sources, a protective order will not issue.
“When a witness has personal knowledge of facts relevant to the lawsuit, even a corporate
president or CEO is subject to deposition.” WebSideStory, Inc. v. NetRatings, Inc., No. 06cv0408
WQH (AJB), 2007 U.S. Dist. LEXIS 20481, at *7 (S.D. Cal. Mar. 22, 2007).°

The Ninth Circuit’s seminal decision in Blankenship v. Hearst Co., 519 F.2d 418 (9th Cir.
1975), is directly on point. In that case, the Ninth Circuit held that the district court erred when it
denied plaintiffs’ bid to depose George Hearst, publisher of the Los Angeles Herald Tribune.
According to the defendants, Mr. Hearst would not have information relevant to plaintiff s antitrust
claims that plaintiff could not learn from other sources. Jd. at 429. The Ninth Circuit rejected that
argument. As the Court recognized, “[u]nder the liberal discovery principles of the Federal Rules
defendants were required to carry a heavy burden of showing why discovery was denied.” Jd. The
defendants’ assertion that Mr. Hearst had no information unavailable elsewhere, countered by
plaintiff's suggestions regarding evidence he might know, was insufficient to satisfy that burden. /d.

The Ninth Circuit ordered that the deposition proceed.

° Celerity, Inc. y. Ultra Clean Holding, Inc., No. C 05-4374 MMC (JL), 2007 U.S. Dist.
LEXIS 8295 (N.D. Cal. Jan. 25, 2007), relied on by Apple, is unavailing. In that case, the court
granted the motion for a protective order pending other methods of discovery and held that the
defendant could renew the motion should those other means of discovery prove inadequate. Jd. at
*15. Critically, in that case, there was no evidence of documents written by the executives dealing
with matters central to the litigation. Instead there were allegations only that the executive
“participated” in an acquisition of another company and that the executive had been at the company
for some length of time and would therefore have knowledge regarding sales of products. This is a
far cry from the detailed and specific evidence of Mr. Jobs unique and relevant first-hand knowledge
set forth in this brief.

PLAINTIFFS’ OPPOSITION TO APPLE INC.’S MOTION FOR PROTECTIVE ORDER PREVENTING
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Following Blankenship, district courts within this District have regularly denied motions to
prevent the depositions of high-ranking officers with relevant knowledge. Indeed, Mr. Jobs was
deposed in another Section 2 case in this District, despite Apple’s unsuccessful motion for a
protective order. In PT Technologies v. Apple Computer, No. 98-cv-01804 (N.D. Cal.), United
States Magistrate Judge Maria-Elena James denied Apple’s motion for a protective order even
though Mr. Jobs submitted a declaration attesting that he was not “the most knowledgeable” about
the licensing program at issue. Ex. 12 (PT Technologies, Order Denying Defendant Apple’s Motion
for a Protective Order, dated December 7, 2000) at 2. The Court found “Defendant Apple has not
established that Steve Jobs does not have unique and highly relevant information to the claims at
bar.” Id. The PT Technologies court further found the burden on Mr. Jobs did not outweigh the
need for his deposition and that written questions would not provide Plaintiffs with the opportunity
to assess Mr. Jobs testimony as a percipient witness. Id.

In PT Technologies, plaintiffs had far less evidence tying Mr. Jobs to the challenged conduct

than Plaintiffs do here, relying on testimony about Mr. Jobs’ role in the licensing program at issue.

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(Robbin Tr. at 115:4-116:7; 176:7-177:15); Ex. 7 (Cue Tr. at 19:14-22, 49:13-51:15).

District courts regularly deny motions to protect corporate heads from depositions where
those individuals have personal knowledge of issues relevant to the case. DR Sys. v. Eastman Kodak
Co., No. 08cv699-H (BLM), 2009 U.S. Dist. LEXIS 83755, at *8 (S.D. Cal. Sept. 14, 2009)
(protective order denied where corporate executive had some personal knowledge of topics relevant
to claims and defenses at issue); First Nat'l Mortg. Co., 2007 U.S. Dist. LEXIS 88625, at *7 (where
executive may have “at least some relevant personal knowledge,” the protective order was denied);
First United Methodist Church of San Jose v. Atl. Mut. Ins. Co., No. C-95-2243 DLJ, 1995 USS.
Dist. LEXIS 22469, at *6 (N.D. Cal. Sept. 19, 1995) (granting motion to compel deposition of
company president, holding, “where a corporate officer has first hand-knowledge of important,
relevant, and material facts in the case the deposition should be allowed”); Detoy v. City & County of

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San Francisco, 196 F.R.D. 362 (N.D. Cal. 2000) (San Francisco Chief of Police ordered to sit for
deposition, since he had personal knowledge of facts relevant to the case).

Courts in other circuits reach the same conclusion when the person to be deposed has
personal knowledge relevant to the lawsuit. See Ex. 13 (In re Payment Card Interchange Fee and
Merchant Discount Antitrust Litigation, No. 1:05-md-1720-JG-JO, Order Denying Motion for
Protective Order (E.D.N.Y. Sept. 16, 2008) (denying protective order precluding the deposition of JP
Morgan Chase & Co. Chairman and CEO James L. Dimon)); Six W. Retail Acquisition, Inc. v. Sony
Theatre Mgmt. Corp., 203 F.R.D. 98, 104 (S.D.N.Y. 2001) (CEO deposed in antitrust case where he
participated in meetings and there was ample evidence of the CEO’s “hands-on involvement in
various aspects” of the conduct at issue in the case); Naftchi v. New York Univ. Med. Ctr., 172
F.R.D. 130 (S.D.N.Y. 1997) (ordering president of NYU medical center to appear for deposition
since he had personal knowledge).

Apple’s cases are unpersuasive and actually support Plaintiffs’ position. In Serrano v. Cintas
Corp., No. 04-40132, 2010 U.S. Dist. LEXIS 57624 (E.D. Mich. June 10, 2010), the CEO submitted
a sworn declaration stating that he had no knowledge regarding many of the issues in the litigation.
Id. at *9. Of course, no such declaration could be submitted by Mr. Jobs here because the record
plainly demonstrates he has first-hand knowledge regarding matters central to Plaintiffs’ case.

Moreover, in that out-of-circuit case, the only purported knowledge the CEO possessed was based

on excerpts from a speech at an annual meeting. /d. at *10.

6 Cardenas v. Prudential Ins. Co. of Am., No. 99-1421 (JRT/FLN), 2003 U.S. Dist. LEXIS
9510 (D. Minn. May 16, 2003), also relied on by Apple, fares no better. That case from the Eighth
Circuit merely stands for the proposition that where it has not been shown that the senior executive
has any unique knowledge or where the “same information” can be obtained through less intrusive
means, a deposition of a senior executive may be restricted. Here, Plaintiffs have demonstrated Mr.
Jobs possesses relevant unique information and that this information is not available via other means.

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C. Plaintiffs’ Deposition Notice Was Timely

This Court should reject Apple’s suggestion that Plaintiffs unduly delayed in their request to
depose CEO Jobs, as any delay is due solely to Apple’s delinquencies. Even though this case has
been pending since 2005, Apple has only recently began producing documents relevant to the merits
of Plaintiffs’ claims.’ In the last four weeks, Apple has produced more than I million pages of

documents in response to Plaintiffs’ long-standing discovery requests, most dating back to May

2009. Bernay Decl., (14. ii

Plaintiffs informed Apple on November 3, 2010 that it intended to depose Mr. Jobs, and met
and conferred with Apple in telephone conferences on November 5 and November 9, and in
correspondence on November 12 and 16. Bernay Decl., 2-6. Plaintiffs originally noticed the
deposition for November 30, 2010, but agreed to take that date off calendar to permit further meet
and confer discussions on the issue. Ex. 14 (Plaintiffs’ Notice of Deposition of Steve Jobs, dated
November 9, 2010). Plaintiffs re-noticed the deposition for the last day of discovery to ensure
defendant Apple would have enough time to prepare Mr. Jobs and to clear his schedule. Ex. 15
(Plaintiffs’ Amended Notice of Deposition of Steve Jobs, dated November 24, 2010). Plaintiffs also
wanted to ensure that other depositions of lower-level executives would occur prior to Mr. Jobs’

deposition in an effort to guard against unnecessarily repetitive testimony from Mr. Jobs.

Gutescu v. Carey Int’l, Inc., No. 01-4026-CIV-MARTINEZ/SIMONTON, 2003 U.S. Dist. LEXIS
27502 (S.D. Fla. June 24, 2003), is similarly unavailing. That case from Florida stands for the
proposition that where the corporate executive has no unique, superior or first-hand knowledge, a
motion to compel may be denied. In Gutescu there was no indication that the executive had any
knowledge regarding plaintiffs claim, let alone unique, superior or first-hand knowledge. See also
Porter y. Eli Lilly and Co., No. 1:06-cv-1297-JOF, 2007 WL 1630697 (N.D. Ga. June 1, 2007)
(declining to order deposition where plaintiffs made no effort to explain the executive’s personal
knowledge or inability to get the information via other means).

7 Initially, Apple was obligated by the Court’s Order only to respond to discovery requests
pertaining to class certification. Dkt. No. 128 (Order Re Plaintiffs’ Motion for Administrative
Relief). Even after that bifurcation order was lifted, Apple continued to delay, insisting that it was
not obligated to respond to discovery until its pending motion to dismiss or for summary judgment
was decided. See Dkt. No. 347 (Declaration of Paula M. Roach Pursuant to Rule 56(f) of the Federal
Rules of Civil Procedure in Support of Plaintiffs’ Opposition to Apple’s Motion to Dismiss or
Alternatively, for Summary Judgment), 499-15.

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During meet and confer negotiations, Plaintiffs explained that Mr. Jobs has unique personal
knowledge regarding issues at the heart of Plaintiffs’ case and explained that he drafted a number of
documents produced by Apple that are relevant to the claims in the case. Bernay Decl., 4, 6,
10, 12.

PE 12x. 6 (Robbin Tr. at 115:4-116:7, 176:7-177:15); Ex. 7 (Cue

Tr. at 19:14-22, 20:4-21:1, 37:21-39:22, 49:13-51:15, 125:1-24).
IV. CONCLUSION

As Apple’s own authority recognizes, Mr. Jobs’ “prestigious position is an unimpressive
paper barrier shielding him from the judicial process.” Mulvey v. Chrysler Corp., 106 F.R.D. 364,
366 (D.R.I. 1985). Because Mr. Jobs possesses relevant first-hand information about issues critical

to this case that is unavailable from other sources, defendant’s motion for a protective order must be

denied.
DATED: December 20, 2010 Respectfully submitted,
ROBBINS GELLER RUDMAN
& DOWD LLP

JOHN J. STOIA, JR.
BONNY E. SWEENEY
THOMAS R. MERRICK
ALEXANDRA S. BERNAY
PAULA M. ROACH

s/ Bonny E. Sweeney
BONNY E. SWEENEY

655 West Broadway, Suite 1900
San Diego, CA 92101
Telephone: 619/231-1058
619/231-7423 (fax)

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THE KATRIEL LAW FIRM
2 ROY A. KATRIEL
1101 30th Street, N.W., Suite 500
3 Washington, DC 20007
Telephone: 202/625-4342
4 202/330-5593 (fax)
5 Co-Lead Counsel for Plaintiffs
6 BONNETT, FAIRBOURN, FRIEDMAN
& BALINT, P.C.
7 ANDREW S. FRIEDMAN
FRANCIS J. BALINT, JR.
8 ELAINE A. RYAN
TODD D. CARPENTER
9 2901 N. Central Avenue, Suite 1000
Phoenix, AZ 85012
10 Telephone: 602/274-1100

602/274-1199 (fax)
BRAUN LAW GROUP, P.C.

12 . MICHAEL D. BRAUN
10680 West Pico Blvd., Suite 280

13 Los Angeles, CA 90064
Telephone: 310/836-6000

14 310/836-6010 (fax)

15 MURRAY, FRANK & SAILER LLP
BRIAN P. MURRAY

16 JACQUELINE SAILER
275 Madison Avenue, Suite 801

17 New York, NY 10016
Telephone: 212/682-1818

18 212/682-1892 (fax)

19 GLANCY BINKOW & GOLDBERG LLP
MICHAEL GOLDBERG

20 1801 Avenue of the Stars, Suite 311
Los Angeles, CA 90067

21 Telephone: 310/201-9150
310/201-9160 (fax)

22
Additional Counsel for Plaintiffs

23

24

25

26

27

28

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CERTIFICATE OF SERVICE

[hereby certify that on December 20, 2010, I authorized the electronic filing of the foregoing
with the Clerk of the Court using the CM/ECF system which will send notification of such filing to
the e-mail addresses denoted on the attached Electronic Mail Notice List, and I hereby certify that I
caused to be mailed the foregoing document or paper via the United States Postal Service to the non-
CM/ECF participants indicated on the attached Manual Notice List.

I certify under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on December 20, 2010.

s/ Bonny E. Sweeney
BONNY E. SWEENEY

ROBBINS GELLER RUDMAN
& DOWD LLP

655 West Broadway, Suite 1900

San Diego, CA 92101-3301

Telephone: 619/231-1058

619/231-7423 (fax)

E-mail: bonnys@regrdlaw.com

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Mailing Information for a Case 5:05-cv-00037-JW

Electronic Mail Notice List
The following are those who are currently on the list to receive e-mail notices for this case.

e Francis Joseph Balint , J r
fbalint@bffb.com

e Alexandra Senya Bernay
xanb @regrdlaw.com

e Michael D Braun
service @ braunlawgroup.com

e Michael D. Braun
service @braunlawgroup.com,clc @ braunlawgroup.com.

e Todd David Carpenter
tcarpenter @bffb.com,pjohnson @ bffb.com,rcreech @ bffb.com

e Andrew S. Friedman
khonecker @ bffb.com,rcreech @bffb.com,afriedman @bffb.com

e Alreen Haeggquist
alreenh @zhlaw.com,judyj @zhlaw.com

e Roy Arie Katriel
rak @katriellaw.com,rk618 @aol.com

e Thomas J. Kennedy
tkennedy @murrayfrank.com

e David Craig Kiernan
dkiernan @jonesday.com,lwong @jonesday.com

e Thomas Robert Merrick
tmerrick @rgrdlaw.com,e_file_sd@rgrdlaw.com,e_file_sf@rgrdlaw.com

e Caroline Nason Mitchell
cnmitchell @jonesday.com,mlandsborough @ jonesday.com,ewallace @jonesday.com

e Robert Allan Mittelstaedt
ramittelstaedt @jonesday.com,ybennett @jonesday.com

e Brian P Murray
bmurray @ murrayfrank.com

e Paula Michelle Roach
proach @rgrdlaw.com,e_file_sd @rgrdlaw.com

https://ecf.cand.uscourts.gov/cgi-bin/MailList.p1?999222702720248-L_36... 12/20/2010
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CAND-ECF- Page 2 of 2

e Elaine A. Ryan
eryan @ bffb.com,pjohnson @bffb.com

e Jacqueline Sailer
jsailer@ murrayfrank.com

e Michael Tedder Scott
michaelscott @ jonesday.com,amhoward @jonesday.com

e Craig Ellsworth Stewart
cestewart @jonesday.com,mlandsborough @jonesday.com

e John J. Stoia , Jr
jstoia@rgrdlaw.com

e Bonny E. Sweeney
bonnys @rgrdlaw.com, christinas @rgrdlaw.com,E_file_sd@rgrdlaw.com,proach @rgrdlaw.com

e Helen I. Zeldes
helenz @zhlaw.com

Manual Notice List
The following is the list of attorneys who are not on the list to receive e-mail notices for this case
(who therefore require manual noticing). You may wish to use your mouse to select and copy this

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